                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



     IN RE:                                              Case No, 3:19-bk-07235
                                                         Chapter 7
     CUMMINGS MANOOKIAN, PLLC                            Judge Walker

            Debtor.                                      Adv. Proc. No. 3:20-ap-90002

     JEANNE ANN BURTON, TRUSTEE

            Plaintiff,

     v.

     HAGH LAW, PLLC; AFSOON
     HAGH; and MANOOKIAN PLLC,

            Defendants.



          BRIAN MANOOKIAN AND MANOOKIAN PLLC’S LIST OF POTENTIAL
              WITNESSES FOR HEARING ON MOTION TO DISQUALIFY
                   BANKRUPTCY JUDGE CHARLES WALKER


            Brian Manookian and Manookian PLLC (“the Manookian Parties”) respectfully

 submit this list of potential witnesses who may be called affirmatively by the Manookian

 parties at the April 4, 2023 hearing on the Manookian Parties’ motion to disqualify:

            1. Phillip Young, counsel for the Trustee.

            2. Brian Manookian, interested party.

            3. Judge Charles M. Walker.1



 1The Manookian Parties recognize, based on the Court’s prior ruling, that it may not
 permit itself to be called to testify, but they renew their request for the Court’s testimony

                                                 1
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 Date: April 3, 2023                            Respectfully submitted,


                                                /s/ John Spragens
                                                John Spragens (TN Bar No. 31445)
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                                                Attorney for Manookian PLLC and
                                                Brian Manookian




                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed April 3, 2023 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                 /s/ John Spragens




 on the limited topic of any ex parte communications about a litigant, and preserve the
 issue for the record.

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